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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 EVANSTON INSURANCE COMPANY,
     Plaintiff,
 v.                                              Case No. 2:21-cv-62-SPC-MRM

 MESOAMERICAN BUILDERS, INC.,
       Defendant.
 ___________________________________/
 MESOAMERICAN BUILDERS, INC.,
       Counter-Plaintiff,
 v.

 EVANSTON INSURANCE COMPANY,
       Counter-Defendant.
 ___________________________________/

               MESOAMERICAN BUILDERS, INC.’S
            ANSWER AND AFFIRMATIVE DEFENSES TO
  EVANSTON INSURANCE COMPANY’S FIRST AMENDED COMPLAINT
                 FOR DECLARATORY RELIEF

       COMES         NOW,        Defendant/Counter-Plaintiff       MESOAMERICAN

 BUILDERS, INC. (“Mesoamerican”), by and through its undersigned counsel, and

 hereby files its Answer and Affirmative Defenses to the Plaintiff/Counter-Defendant

 EVANSTON INSURANCE COMPANY’S (“Evanston”) First Amended Complaint

 for Declaratory Relief [Doc #29], as follows:

                MESOAMERICAN BUILDERS, INC.’S ANSWER
                             NATURE OF THE ACTION

       1.     Admitted that Evanston has filed this action seeking declaratory relief

 with regard to claims made by the Decedent in the Underlying Lawsuit, admitted for

 jurisdictional purposes only, and denied that Evanston is entitled any relief.
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                                     THE PARTIES

       2.     Without sufficient knowledge and therefore, denied.

       3.     Admitted for jurisdictional purposes only.

       4.     Admitted for jurisdictional purposes only.

                           JURISDICTION AND VENUE

       5.     Admitted for jurisdictional purposes only.

       6.     Admitted for jurisdictional purposes only.

       7.     Admitted for jurisdictional purposes only.

       8.     Admitted for venue purposes only.

                                     BACKGROUND
    A. The Underlying Lawsuit

       9.     Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, without sufficient knowledge as to the reminder, therefore denied.

       10.    Denied.

       11.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies the allegation.

       12.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, without sufficient knowledge as to the reminder, therefore denied.

       13.    Admitted that in paragraph 87, the Underlying Lawsuit alleges that “On

 or about December 16, 2018, Decedent was doing work for Mesoamerican…”, but also admits

 that the Underlying Lawsuit, in paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128,

 and 134, states the exact same allegation only directed each of the other co-defendants:


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 “On or about December 16, 2018, Decedent was doing work for [each of the other co-defendants

 in the Underlying Lawsuit]”, and otherwise without sufficient knowledge as to the

 reminder, therefore denied.

        14.    Admitted that in paragraph 22, the Underlying Lawsuit alleges same, but

 also admitted that the Underlying Lawsuit, in paragraphs 30, 38, 46, 53, and 59, states

 the exact same allegation only directed each of the other co-defendants, and otherwise

 without sufficient knowledge as to the reminder, therefore denied.

        15.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that either plaintiffs in the Underlying Lawsuit or Evanston are

 entitled to any relief.

    B. The Evanston Policy

        16.    Admitted only that the policy speaks for itself.

        17.    Admitted.

        18.    Admitted only that the policy speaks for itself, but denied that these are

 the only applicable limits available to Mesoamerican regarding the allegations in and

 facts of the Underlying Lawsuit.

        19.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, and therefore, denies the allegation.

        20.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

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       21.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

       22.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       23.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

       24.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

       25.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

    C. Evanston’s Coverage Position

       26.    Admitted only that the referenced correspondence speaks for itself,

 otherwise denies that contents of the correspondence, in whole or in part, is truthful,

 accurate, complies with Florida law, or applies to the instant case or to the allegations

 in and facts of the Underlying Lawsuit, therefore, denies the allegation.

       27.    Denied.




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       28.    Admitted only that the referenced correspondence speaks for itself,

 otherwise denies that contents of the correspondence, in whole or in part, is truthful,

 accurate, or applies to the instant case or to the allegations in and facts of the

 Underlying Lawsuit, therefore, denies the allegation.

       29.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

       30.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit, therefore, denies the allegation.

       31.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted endorsement is triggered or otherwise applies. Therefore, since

 the quoted endorsement has not been triggered or otherwise applies, Mesoamerican

 denies that it was required to provide “any proof of compliance with the conditions of

 the … [e]ndorsement.”

       32.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican


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 denies that the quoted endorsement has been triggered or otherwise applies. Therefore,

 since the quoted endorsement has not been triggered or otherwise applies,

 Mesoamerican denies that it was required to provide “any proof of compliance with

 the conditions of the … [e]ndorsement,” and further denies that the $50,000 limit is

 triggered or otherwise applies.

       33.    Admitted only that the referenced correspondence speaks for itself,

 otherwise denies that contents of the correspondence, in whole or in part, is truthful,

 accurate, complies with Florida law, or applies to the instant case or to the allegations

 in and facts of the Underlying Lawsuit, therefore, denies the allegation. Mesoamerican

 denies that any quoted exclusion or endorsement applies to the instant case or to the

 allegations in and facts of the Underlying Lawsuit. Because Mesoamerican denies that

 the Decedent was performing work at the Project for or on behalf of Mesoamerican,

 Mesoamerican denies that the quoted endorsement has been triggered or otherwise

 applies. Therefore, since the quoted endorsement has not been triggered or otherwise

 applies, Mesoamerican denies that it was required to provide “any proof of compliance

 with the conditions of the … [e]ndorsement,” and further denies that the $50,000 limit

 has been triggered or otherwise applies.

                                       COUNT I

       34.    Mesoamerican repeats its answers to paragraphs 1-33 above.

       35.    Admitted for jurisdictional purposes only, otherwise denied.

       36.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

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 facts of the Underlying Lawsuit. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies.

        37.    Admitted that in paragraph 87, the Underlying Lawsuit alleges that “On

 or about December 16, 2018, Decedent was doing work for Mesoamerican…”, but also admits

 that the Underlying Lawsuit, in paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128,

 and 134, states the exact same allegation only directed each of the other co-defendants:

 “On or about December 16, 2018, Decedent was doing work for [each of the other co-defendants

 in the Underlying Lawsuit]”, and otherwise denies the allegation.

        38.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that either the plaintiffs in the Underlying Lawsuit or Evanston are

 entitled to any relief.

        39.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denied. Moreover, the Underlying Lawsuit does NOT make such

 allegations, and does NOT allege that the Decedent (1) was an “employee” of only

 Mesoamerican, (2) was employed only by Mesoamerican, (3) was performing duties

 related only to Mesoamerican’s business, (4) was doing work only for Mesoamerican,

 and (5) was performing “labor” only for Mesoamerican. See Underlying Lawsuit

 paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128, and 134.

        40.    Admitted only that the Underlying Lawsuit and the policy speaks for

 themselves, and otherwise, denied. Moreover, the Underlying Lawsuit does not make

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 such allegations, and does not allege that the Decedent (1) was an “employee” of only

 Mesoamerican, (2) was employed only by Mesoamerican, (3) was performing duties

 related only to Mesoamerican’s business, (4) was doing work only for Mesoamerican,

 and (5) was performing “labor” only for Mesoamerican. See Underlying Lawsuit

 paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128, and 134. Lastly, denied that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies.

       41.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies.

       42.    Admitted only that the policy speaks for itself, otherwise denies that any

 quoted exclusion or endorsement applies to the instant case or to the allegations in and

 facts of the Underlying Lawsuit. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies.


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       43.    Admitted only that the policy speaks for itself, otherwise denied.

 Moreover, denied that any quoted exclusion or endorsement applies to the instant case

 or to the allegations in and facts of the Underlying Lawsuit. Because Mesoamerican

 denies that the Decedent was performing work at the Project for or on behalf of

 Mesoamerican, Mesoamerican denies that the quoted exclusion or endorsement has

 been triggered or otherwise applies.

       44.    Denied.

       45.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder.

       46.    Admitted for jurisdictional purposes only.

                                        COUNT II

       47.    Mesoamerican repeats its answers to paragraphs 1-33 above.

       48.    Admitted for jurisdictional purposes only.

       49.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       50.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that either the plaintiffs in the Underlying Lawsuit or Evanston are

 entitled to any relief. Because Mesoamerican denies that the Decedent was performing

 work at the Project for or on behalf of Mesoamerican, Mesoamerican denies that the

 quoted exclusion or endorsement has been triggered or otherwise applies. Moreover,

 denied that Mesoamerican provided (and was any under obligation or requirement to

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 provide) workers compensation coverage or similar, to the Decedent or to the

 Decedent’s employer. Further, denied that Mesoamerican was Decedent’s ‘statutory

 employer’ as that phrase is understood under Florida law.

       51.      Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation. Moreover, denied that Mesoamerican provided (and

 was any under obligation or requirement to provide) workers compensation coverage

 or similar to, the Decedent or to the Decedent’s employer. Further, denied that

 Mesoamerican was Decedent’s ‘statutory employer’ as that phrase is understood under

 Florida law.

       52.      Denied.

       53.      Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder.

       54.      Admitted for jurisdictional purposes only.

                                       COUNT III

       55.      Mesoamerican repeats its answers to paragraphs 1-33 above.

       56.      Admitted for jurisdictional purposes only.

       57.      Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       58.      Admitted that in paragraph 87, the Underlying Lawsuit alleges that “On

 or about December 16, 2018, Decedent was doing work for Mesoamerican…”, but also admits

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 that the Underlying Lawsuit, in paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128,

 and 134, states the exact same allegation only directed each of the other co-defendants:

 “On or about December 16, 2018, Decedent was doing work for [each of the other co-defendants

 in the Underlying Lawsuit]”, and otherwise denies the allegation.

        59.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation. Because Mesoamerican denies that the Decedent was

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies.

        60.    Admitted only that the Underlying Lawsuit and the policy speaks for

 themselves, and otherwise, denied. Because Mesoamerican denies that the Decedent

 was performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies. Moreover, denied that Mesoamerican provided (and was any under obligation

 or requirement to provide) workers compensation coverage or similar, to the Decedent

 or to the Decedent’s employer. Further, denied that Mesoamerican was Decedent’s

 ‘statutory employer’ as that phrase is understood under Florida law.

        61.    Admitted only that the Underlying Lawsuit and the policy speaks for

 themselves, and otherwise, denied. Because Mesoamerican denies that the Decedent

 was performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

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 applies. Moreover, denied that Mesoamerican provided (and was any under obligation

 or requirement to provide) workers compensation coverage or similar, to the Decedent

 or to the Decedent’s employer. Further, denied that Mesoamerican was Decedent’s

 ‘statutory employer’ as that phrase is understood under Florida law.

       62.    Admitted only that the Underlying Lawsuit and the policy speaks for

 themselves, and otherwise, denied. Because Mesoamerican denies that the Decedent

 was performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the quoted exclusion or endorsement has been triggered or otherwise

 applies. Moreover, denied that Mesoamerican provided (and was any under obligation

 or requirement to provide) workers compensation coverage or similar, to the Decedent

 or to the Decedent’s employer. Further, denied that Mesoamerican was Decedent’s

 ‘statutory employer’ as that phrase is understood under Florida law.

       63.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder.

       64.    Admitted for jurisdictional purposes only.

                                      COUNT IV

       65.    Mesoamerican repeats its answers to paragraphs 1-33 above.

       66.    Admitted for jurisdictional purposes only.

       67.    Admitted that the Policy speaks for itself, and otherwise denies that any

 quoted exclusion or endorsement applies to the instant case, and therefore, denies the

 allegation. Because Mesoamerican denies that the Decedent was performing work at




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 the Project for or on behalf of Mesoamerican, Mesoamerican denies that the

 referenced exclusions or endorsements have been triggered or otherwise applies.

       68.    Denied.

       69.    Denied.

                                      COUNT V

       70.    Mesoamerican repeats its answers to paragraphs 1-33 above.

       71.    Admitted for jurisdictional purposes only.

       72.    Denied.

       73.    Mesoamerican denies that the Decedent or Decedent’s employer were

 performing work at the Project for or on behalf of Mesoamerican. Thus,

 Mesoamerican denies that Mesoamerican was required to secure, obtain, or maintain

 any certificates of insurance from either Decedent or Decedent’s employer (or from

 any other contractors or worker on the Project who were not performing work at the

 Project for or on behalf of Mesoamerican).

       74.    Mesoamerican denies that the Decedent or Decedent’s employer were

 performing work at the Project for or on behalf of Mesoamerican. Moreover, no

 written contracts exist between Mesoamerican and either Decedent or Decedent’s

 employer (or with any other contractors or worker on the Project who were not

 performing work at the Project for or on behalf of Mesoamerican). Thus, denied that

 Mesoamerican failed to produce any such contracts (i.e. they do not exist).

       75.    Admitted.




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       76.    Denied. Mesoamerican denies that the Decedent, Decedent’s employer,

 or Atlantis were performing work at the Project for or on behalf of Mesoamerican, and

 denied that Mesoamerican ‘subcontracted’ any work on the Project to the Decedent,

 Decedent’s employer, or Atlantis.

       77.    Mesoamerican denies that the Decedent, Decedent’s employer, or

 Atlantis were performing work at the Project for or on behalf of Mesoamerican. Thus,

 Mesoamerican denies that Mesoamerican was required to secure, obtain, or maintain

 any certificates of insurance from Decedent, Decedent’s employer, or Atlantis (or from

 any other contractors or worker on the Project who were not performing work at the

 Project for or on behalf of Mesoamerican).

       78.    Denied. Because Mesoamerican denies that the Decedent, Decedent’s

 employer, or Atlantis were performing work at the Project for or on behalf of

 Mesoamerican, Mesoamerican denies that the referenced exclusions or endorsements

 have been triggered or otherwise apply.

       79.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder. Because

 Mesoamerican denies that the Decedent, Decedent’s employer, or Atlantis were

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the referenced exclusion or endorsement has been triggered or otherwise

 applies. Therefore, since neither the referenced exclusion nor endorsement has been

 triggered or otherwise apply, Mesoamerican denies that the $50,000 limit applies.




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       80.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder. Because

 Mesoamerican denies that the Decedent, Decedent’s employer, or Atlantis were

 performing work at the Project for or on behalf of Mesoamerican, Mesoamerican

 denies that the referenced exclusion or endorsement has been triggered or otherwise

 applies. Therefore, since neither the referenced exclusion nor endorsement has been

 triggered or otherwise apply, Mesoamerican denies that the $50,000 limit applies.




   MESOAMERICAN BUILDERS, INC.’S AFFIRMATIVE DEFENSES TO
  EVANSTON INSURANCE COMPANY’S FIRST AMENDED COMPLAINT
                 FOR DECLARATORY RELIEF

                              First Affirmative Defense

    1. Mesoamerican affirmatively alleges that it has complied with all conditions

       precedent and to the extent that it has failed to comply with any conditions

       precedent, the failure to comply did not prejudice and/or is immaterial as an

       immaterial breach of the subject contract(s) of insurance.

                             Second Affirmative Defense

    2. Mesoamerican affirmatively alleges that Evanston has failed to comply with all

       conditions precedent to filing the instant action for declaratory relief such that

       its failure to comply has prejudiced and/or is a material breach of the subject

       contract(s) of insurance.




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                             Third Affirmative Defense

    3. Mesoamerican affirmatively alleges that Evanston has failed to join necessary

       parties to this action, particularly the plaintiffs in the Underlying Lawsuit, as

       they have an interest and stake in the outcome of any declarations made by this

       Court.

                             Fourth Affirmative Defense

    4. Mesoamerican affirmatively alleges that Evanston has failed to state a cause of

       action upon which relief can be granted.

                              Fifth Affirmative Defense

    5. Mesoamerican affirmatively alleges that Evanston has the duty to defend

       Mesoamerican from the claims of the plaintiffs in the Underlying Lawsuit as

       pled in their complaint against Mesoamerican and others as pending in the

       Circuit Court of the Twentieth Judicial Circuit, in and for Collier County,

       Florida, Case No. 2020-CA-3924.

                              Sixth Affirmative Defense

    6. Mesoamerican affirmatively alleges that Evanston has the duty to indemnify

       Mesoamerican from the claims of the plaintiffs in the Underlying Lawsuit as

       pled in their complaint against Mesoamerican and others as pending in the

       Circuit Court of the Twentieth Judicial Circuit, in and for Collier County,

       Florida, Case No. 2020-CA-3924.




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                            Seventh Affirmative Defense

    7. Mesoamerican affirmatively alleges that the endorsements, exclusions and

       limitations, titled: (1) “Exclusion-Employer’s Liability and Bodily Injury to

       Contractors or Subcontractors” bearing form number MEGL 1637 05 17, (2)

       “Limitation – Contractor or Subcontractor Management” bearing form number

       MEGL 0103 11 14, (3) “Workers’ Compensation And Similar Laws

       Exclusion”; and/or (4) “Hired Person and Worker’s Compensation and Similar

       Laws Exclusion” under the policy’s Coverage C - Medical Payments coverage

       - do not apply, cannot apply, or have not been triggered, to either the instant

       case or to the Underlying Lawsuit because, for all relevant periods of time:

       (1) the Decedent was not an employee, worker, or laborer of Mesoamerican;

       (2) the Decedent was not an “Employee”, “Temporary worker”, or “Volunteer

       worker” of Mesoamerican or any of Mesoamerican’s hired/engaged

       contractors or subcontractors at the Project;

       (3) Mesoamerican had no control over, and did not exercise any control over,

       the Decedent, Decedent’s employer, Atlantis, or Mr. D’Aquino;

       (4) the Decedent was not performing any labor or work for Mesoamerican or

       on Mesoamerican’s behalf;

       (5) the Decedent was not performing any labor or work for any of

       Mesoamerican’s     hired/engaged     contractors   or   subcontractors   or    on

       Mesoamerican’s behalf;




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       (6) Mesoamerican was not in possession or control over the subject premises

       where the incident occurred and the Decedent was not invited on to the subject

       premises by Mesoamerican;

       (7) Decedent’s employer was not a hired/engaged contractor or subcontractor

       of Mesoamerican’s, and at no time was Decedent’s employer performing any

       labor or work at the Project for or on behalf of Mesoamerica;

       (8) Atlantis was not a hired/engaged contractor or subcontractor of

       Mesoamerican’s, and at no time was Atlantis performing any labor or work at

       the Project for or on behalf of Mesoamerican;

       (9) Mr. D’Aquino was not a hired/engaged contractor or subcontractor of

       Mesoamerican’s, and at no time was Mr. D’Aquino performing any labor or

       work at the Project for or on behalf of Mesoamerican; and/or

       (10) the Project location is not a premise or property that was owed or rented

       by Mesoamerican.

       As such coverage is available to Mesoamerican and Plaintiff is estopped from

       asserting any of the referenced endorsements, exclusions, or limitations as a

       basis for denial of coverage and of its duties to defend and indemnify

       Mesoamerican.

                             Eighth Affirmative Defense

    8. Mesoamerican affirmatively alleges that, at all relevant times, (1) it was not the

       “statutory employer” or any type of employer of the Decedent, the Decedent’s

       employer, Atlantis, or Mr. D’Aquino, and (2) the Decedent, the Decedent’s

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        employer, Atlantis, and Mr. D’Aquino were not performing any labor or work

        at the Project for or on behalf of Mesoamerican. Thus, Mesoamerican did not

        (and was not required to provide) workers’ compensation coverage, or similar,

        to Decedent, Decedent’s employer, Atlantis, or Mr. D’Aquino for any of their

        respective work at the Project. Therefore, the endorsements, limitations, or

        exclusions titled “Workers’ Compensation And Similar Laws Exclusion”

        and/or “Hired Person and Worker’s Compensation and Similar Laws

        Exclusion” under the policy’s Coverage C - Medical Payments coverage - do

        not apply, cannot apply, or have not been triggered, to either the instant case or

        to the Underlying Lawsuit, and Plaintiff is estopped from asserting any of the

        referenced endorsements, limitations, or exclusions as a basis for denial of

        coverage and of its duties to defend and indemnify Mesoamerican.

                               Ninth Affirmative Defense

     9. The Underlying Lawsuit alleges that “On or about December 16, 2018, Decedent

        was doing work for Mesoamerican…”, but also in paragraphs 9, 17, 73, 80, 94, 101,

        108, 115, 121, 128, and 134, the underlying plaintiff alleges the exact same

        allegation directed each of the other co-defendants: “On or about December 16,

        2018, Decedent was doing work for [each of the other co-defendants in the Underlying

        Lawsuit].” Thus, Mesoamerican affirmatively alleges that because whether the

        referenced policy language 1 applies to preclude coverage for Mesoamerican


 1
  The policy endorsements, exclusions and limitations titled: (1) “Exclusion-
 Employer’s Liability and Bodily Injury to Contractors or Subcontractors” bearing

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       (including Evanston’s duty to defend and indemnify) hinges on a number of

       factual questions in dispute, namely whether the Decedent was performing

       work at the Project on behalf of Mesoamerican, then the referenced policy

       language does not apply, cannot apply, or has not been triggered. Thus, Plaintiff

       is estopped from asserting any of the referenced policy language as a basis for

       denial of coverage and of its duties to defend and indemnify Mesoamerican.

       In the alternative, in order for the Court to make determinations about

       Evanston’s duty to defend, it must determine whether any of the referenced

       policy exclusions apply. Thus, at a minimum, in order to make that

       determination, the Court must first ascertain whether the Decedent was

       performing work at the Project on behalf of Mesoamerican. And, the only way

       to know for sure whether the referenced policy exclusions apply to preclude

       coverage to the policyholder, the Court must be able to look beyond the 8-

       corners of the complaint in the Underlying Lawsuit and the policy to find the

       actual facts.

                             Tenth Affirmative Defense

    10. Mesoamerican affirmatively alleges the benefits of Florida Statutes §§626.9373

       and 57.104 for the purpose of recovering their attorneys’ fees and legal assistant



 form number MEGL 1637 05 17, (2) “Limitation – Contractor or Subcontractor
 Management” bearing form number MEGL 0103 11 14, (3) “Workers’ Compensation
 And Similar Laws Exclusion”; and/or (4) “Hired Person and Worker’s Compensation
 and Similar Laws Exclusion” under the policy’s Coverage C - Medical Payments
 coverage.

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       fees. The undersigned has been hired by Mesoamerican to defend this action

       and the prosecute Mesoamerican’s Counterclaim [Doc. 10], and Mesoamerican

       is required to compensate counsel for the same.



                         DEMAND FOR A JURY TRIAL

 Mesoamerican demands a trial by jury on all claims and defenses so triable.



       DATED this 6th day of July, 2021.

                                        Respectfully submitted,

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